                                      Case 09-17018-RAM                            Doc 1             Filed 04/16/09                    Page 1 of 42
B1 (Official Form 1) (1/08)
                                            UNITED STATES BANKRUPTCY COURT
                                              SOUTHERN DISTRICT OF FLORIDA                                                                                       Voluntary Petition
                                                      MIAMI DIVISION
Name of Debtor (if individual, enter Last, First, Middle):                                           Name of Joint Debtor (Spouse) (Last, First, Middle):
Cuello, William C.

All Other Names used by the Debtor in the last 8 years                                               All Other Names used by the Joint Debtor in the last 8 years
(include married, maiden, and trade names):                                                          (include married, maiden, and trade names):
aka William Cuello; aka William Cesar Cuello; aka William
Cesar Cuello Salot; aka Wilian Cesar Cuello Salot

Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN) No./Complete EIN (if more           Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN) No./Complete EIN (if more
than one, state all):     xxx-xx-9814                                                                than one, state all):
Street Address of Debtor (No. and Street, City, and State):                                          Street Address of Joint Debtor (No. and Street, City, and State):
16946 SW 138 Ct.
Miami, FL
                                                                          ZIP CODE                                                                                            ZIP CODE
                                                                            33177
County of Residence or of the Principal Place of Business:                                           County of Residence or of the Principal Place of Business:
Miami-Dade
Mailing Address of Debtor (if different from street address):                                        Mailing Address of Joint Debtor (if different from street address):
16946 SW 138 Ct.
Miami, FL
                                                                          ZIP CODE                                                                                            ZIP CODE
                                                                            33177
Location of Principal Assets of Business Debtor (if different from street address above):
                                                                                                                                                                              ZIP CODE


                Type of Debtor                                 Nature of Business                                   Chapter of Bankruptcy Code Under Which
              (Form of Organization)                              (Check one box.)                                     the Petition is Filed (Check one box.)
                 (Check one box.)
                                                     ¨    Health Care Business
                                                                                                     þ       Chapter 7
 þ      Individual (includes Joint Debtors)          ¨    Single Asset Real Estate as defined
                                                          in 11 U.S.C. § 101(51B)
                                                                                                     ¨       Chapter 9                                   ¨ Chapter  15 Petition for Recognition
                                                                                                                                                           of a Foreign Main Proceeding
        See Exhibit D on page 2 of this form.
                                                     ¨    Railroad                                   ¨       Chapter 11
 ¨      Corporation (includes LLC and LLP)                                                           ¨       Chapter 12                                  ¨ Chapter 15 Petition for Recognition
                                                     ¨    Stockbroker                                                                                          of a Foreign Nonmain Proceeding
 ¨      Partnership
                                                     ¨    Commodity Broker                           ¨       Chapter 13

 ¨      Other (If debtor is not one of the above
        entities, check this box and state type
                                                     ¨    Clearing Bank                                                                     Nature of Debts
                                                                                                                                            (Check one box.)
        of entity below.)                            ¨    Other
                                                                 Tax-Exempt Entity                   þ       Debts are primarily consumer
                                                                                                             debts, defined in 11 U.S.C.
                                                                                                                                                         ¨     Debts are primarily
                                                                                                                                                               business debts.
                                                             (Check box, if applicable.)                     § 101(8) as "incurred by an
                                                          Debtor is a tax-exempt organization                individual primarily for a
                                                     ¨    under Title 26 of the United States                personal, family, or house-
                                                          Code (the Internal Revenue Code).                  hold purpose."
                              Filing Fee (Check one box.)                                                                                 Chapter 11 Debtors
                                                                                                     Check one box:
 þ      Full Filing Fee attached.
                                                                                                     ¨       Debtor is a small business debtor as defined by 11 U.S.C. § 101(51D).

 ¨      Filing Fee to be paid in installments (applicable to individuals only). Must attach          ¨       Debtor is not a small business debtor as defined in 11 U.S.C. § 101(51D).
        signed application for the court's consideration certifying that the debtor is               Check if:
        unable to pay fee except in installments. Rule 1006(b). See Official Form 3A.                ¨       Debtor's aggregate noncontigent liquidated debts (excluding debts owed to
                                                                                                             insiders or affiliates) are less than $2,190,000.
        Filing Fee waiver requested (applicable to chapter 7 individuals only). Must
 ¨      attach signed application for the court's consideration. See Official Form 3B.
                                                                                                     Check all applicable boxes:
                                                                                                             A plan is being filed with this petition.
                                                                                                     ¨       Acceptances of the plan were solicited prepetition from one or more classes
                                                                                                     ¨       of creditors, in accordance with 11 U.S.C. § 1126(b).
 Statistical/Administrative Information                                                                                                                                THIS SPACE IS FOR
                                                                                                                                                                       COURT USE ONLY
 ¨    Debtor estimates that funds will be available for distribution to unsecured creditors.
 þ    Debtor estimates that, after any exempt property is excluded and administrative expenses paid,
      there will be no funds available for distribution to unsecured creditors.
 Estimated Number of Creditors
 þ
 1-49
             ¨
             50-99
                          ¨
                          100-199
                                         ¨
                                         200-999
                                                         ¨
                                                         1,000-
                                                                          ¨
                                                                          5,001-
                                                                                           ¨
                                                                                           10,001-
                                                                                                                ¨
                                                                                                                25,001-
                                                                                                                                    ¨
                                                                                                                                    50,001-
                                                                                                                                                     ¨
                                                                                                                                                     Over
                                                         5,000            10,000           25,000               50,000              100,000          100,000
 Estimated Assets
 ¨           ¨            þ              ¨               ¨                ¨                ¨                    ¨                   ¨                ¨
 $0 to    $50,001 to $100,001 to $500,001                $1,000,001       $10,000,001      $50,000,001          $100,000,001        $500,000,001 More than
 $50,000 $100,000 $500,000       to $1 million           to $10 million   to $50 million   to $100 million      to $500 million     to $1 billion $1 billion
 Estimated Liabilities
 ¨           ¨            þ              ¨               ¨                ¨                ¨                    ¨                   ¨                ¨
 $0 to   $50,001 to $100,001 to $500,001                 $1,000,001       $10,000,001      $50,000,001          $100,000,001        $500,000,001 More than
 $50,000 $100,000 $500,000      to $1 million            to $10 million   to $50 million   to $100 million      to $500 million     to $1 billion $1 billion
Computer software provided by LegalPRO Systems, Inc., San Antonio, Texas (210) 561-5300, Copyright 1996-2009 (Build 9.0.34.1, ID 4241028916)
                                     Case 09-17018-RAM                       Doc 1           Filed 04/16/09                Page 2 of 42
B1 (Official Form 1) (1/08)                                                                                                                                                      Page 2
 Voluntary Petition                                                                         Name of Debtor(s):    William C. Cuello
 (This page must be completed and filed in every case.)
                           All Prior Bankruptcy Cases Filed Within Last 8 Years (If more than two, attach additional sheet.)
Location Where Filed:                                                                      Case Number:                                   Date Filed:
 None
Location Where Filed:                                                                      Case Number:                                   Date Filed:


        Pending Bankruptcy Case Filed by any Spouse, Partner or Affiliate of this Debtor                                     (If more than one, attach additional sheet.)
Name of Debtor:                                                                            Case Number:                                   Date Filed:
 None
District:                                                                                  Relationship:                                  Judge:


                                         Exhibit A                                                                                 Exhibit B
 (To be completed if debtor is required to file periodic reports (e.g., forms 10K and                              (To be completed if debtor is an individual
 10Q) with the Securities and Exchange Commission pursuant to Section 13 or 15(d)                                  whose debts are primarily consumer debts.)
 of the Securities Exchange Act of 1934 and is requesting relief under chapter 11.)         I, the attorney for the petitioner named in the foregoing petition, declare that I have
                                                                                            informed the petitioner that [he or she] may proceed under chapter 7, 11, 12, or 13
                                                                                            of title 11, United States Code, and have explained the relief available under each
                                                                                            such chapter. I further certify that I have delivered to the debtor the notice
 ¨      Exhibit A is attached and made a part of this petition.
                                                                                            required by 11 U.S.C. § 342(b).



                                                                                            X     /s/ Patrick L. Cordero, Esq.                                      04/16/2009
                                                                                                 Patrick L. Cordero, Esq.                                              Date
                                                                                     Exhibit C
 Does the debtor own or have possession of any property that poses or is alleged to pose a threat of imminent and identifiable harm to public health or safety?

 ¨      Yes, and Exhibit C is attached and made a part of this petition.

 þ      No.

                                                                                     Exhibit D
 (To be completed by every individual debtor. If a joint petition is filed, each spouse must complete and attach a separate Exhibit D.)
      þ Exhibit D completed and signed by the debtor is attached and made a part of this petition.
 If this is a joint petition:
        ¨ Exhibit D also completed and signed by the joint debtor is attached and made a part of this petition.
                                                                   Information Regarding the Debtor - Venue
                                                                          (Check any applicable box.)

 þ      Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180 days immediately
        preceding the date of this petition or for a longer part of such 180 days than in any other District.


 ¨      There is a bankruptcy case concerning debtor's affiliate, general partner, or partnership pending in this District.

 ¨      Debtor is a debtor in a foreign proceeding and has its principal place of business or principal assets in the United States in this District, or has no
        principal place of business or assets in the United States but is a defendant in an action or proceeding [in a federal or state court] in this District,
        or the interests of the parties will be served in regard to the relief sought in this District.

                                      Certification by a Debtor Who Resides as a Tenant of Residential Property
                                                               (Check all applicable boxes.)
 ¨      Landlord has a judgment against the debtor for possession of debtor's residence. (If box checked, complete the following.)


                                                                                        (Name of landlord that obtained judgment)




                                                                                        (Address of landlord)

 ¨      Debtor claims that under applicable nonbankruptcy law, there are circumstances under which the debtor would be permitted to cure the entire
        monetary default that gave rise to the judgment for possession, after the judgment for possession was entered, and

 ¨      Debtor has included in this petition the deposit with the court of any rent that would become due during the 30-day period after the filing of the
        petition.

 ¨      Debtor certifies that he/she has served the Landlord with this certification. (11 U.S.C. § 362(l)).
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                                    Case 09-17018-RAM                            Doc 1       Filed 04/16/09                  Page 3 of 42
B1 (Official Form 1) (1/08)                                                                                                                                                        Page 3
 Voluntary Petition                                                                          Name of Debtor(s):     William C. Cuello
 (This page must be completed and filed in every case)
                                                                                        Signatures
             Signature(s) of Debtor(s) (Individual/Joint)                                                          Signature of a Foreign Representative
 I declare under penalty of perjury that the information provided in this petition is        I declare under penalty of perjury that the information provided in this petition is true
 true and correct.                                                                           and correct, that I am the foreign representative of a debtor in a foreign proceeding,
 [If petitioner is an individual whose debts are primarily consumer debts and has            and that I am authorized to file this petition.
 chosen to file under chapter 7] I am aware that I may proceed under chapter 7,
 11, 12 or 13 of title 11, United States Code, understand the relief available under
                                                                                             (Check only one box.)
 each such chapter, and choose to proceed under chapter 7.
 [If no attorney represents me and no bankruptcy petition preparer signs the
 petition] I have obtained and read the notice required by 11 U.S.C. § 342(b).
                                                                                             ¨ ICertified
                                                                                                 request relief in accordance with chapter 15 of title 11, United States Code.
                                                                                                          copies of the documents required by 11 U.S.C. § 1515 are attached.

 I request relief in accordance with the chapter of title 11, United States Code,
 specified in this petition.                                                                 ¨ Pursuant   to 11 U.S.C. § 1511, I request relief in accordance with the chapter of
                                                                                               title 11 specified in this petition. A certified copy of the order granting
                                                                                                 recognition of the foreign main proceeding is attached.


 X     /s/ William C. Cuello
      William C. Cuello
                                                                                             X
                                                                                                 (Signature of Foreign Representative)
 X
                                                                                                 (Printed Name of Foreign Representative)
     Telephone Number (If not represented by attorney)
     04/16/2009
     Date                                                                                        Date
                                Signature of Attorney*                                                  Signature of Non-Attorney Bankruptcy Petition Preparer
                                                                                             I declare under penalty of perjury that: (1) I am a bankruptcy petition preparer as
 X     /s/ Patrick L. Cordero, Esq.                                                          defined in 11 U.S.C. § 110; (2) I prepared this document for compensation and
      Patrick L. Cordero, Esq.                         Bar No. 801992                        have provided the debtor with a copy of this document and the notices and
                                                                                             information required under 11 U.S.C. §§ 110(b), 110(h), and 342(b); and, (3) if rules
                                                                                             or guidelines have been promulgated pursuant to 11 U.S.C. § 110(h) setting a
 Law Offices of Patrick L. Cordero, P.A.
                                                                                             maximum fee for services chargeable by bankruptcy petition preparers, I have
 198 NW 37th Avenue                                                                          given the debtor notice of the maximum amount before preparing any document
 Miami, FL 33125                                                                             for filing for a debtor or accepting any fee from the debtor, as required in that
                                                                                             section. Official Form 19 is attached.


          (305) 445-4855
 Phone No.______________________        (305) 445-9483
                                 Fax No.______________________
                                                                                             Printed Name and title, if any, of Bankruptcy Petition Preparer
     04/16/2009
     Date
 *In a case in which § 707(b)(4)(D) applies, this signature also constitutes a               Social-Security number (If the bankruptcy petition preparer is not an individual,
 certification that the attorney has no knowledge after an inquiry that the                  state the Social-Security number of the officer, principal, responsible person or
 information in the schedules is incorrect.                                                  partner of the bankruptcy petition preparer.) (Required by 11 U.S.C. § 110.)


                Signature of Debtor (Corporation/Partnership)
 I declare under penalty of perjury that the information provided in this petition is
 true and correct, and that I have been authorized to file this petition on behalf of
 the debtor.
                                                                                             Address
 The debtor requests relief in accordance with the chapter of title 11, United States
 Code, specified in this petition.
                                                                                             X
                                                                                                 Date
 X                                                                                           Signature of bankruptcy petiton preparer or officer, principal, responsible person, or
                                                                                             partner whose Social-Security number is provided above.
     Signature of Authorized Individual
                                                                                             Names and Social-Security numbers of all other individuals who prepared or
                                                                                             assisted in preparing this document unless the bankruptcy petition preparer is not
     Printed Name of Authorized Individual                                                   an individual.



     Title of Authorized Individual                                                          If more than one person prepared this document, attach additional sheets
                                                                                             conforming to the appropriate official form for each person.

                                                                                             A bankruptcy petition preparer's failure to comply with the provisions of title 11
     Date                                                                                    and the Federal Rules of Bankruptcy Procedure may result in fines or
                                                                                             imprisonment or both. 11 U.S.C. § 110; 18 U.S.C. § 156.
                          Case 09-17018-RAM                Doc 1       Filed 04/16/09           Page 4 of 42
B 1D (Official Form 1, Exhibit D) (12/08)   UNITED STATES BANKRUPTCY COURT
                                             SOUTHERN DISTRICT OF FLORIDA
                                                      MIAMI DIVISION
In re:   William C. Cuello                                                               Case No.
                                                                                                              (if known)

                     Debtor(s)

              EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE WITH
                               CREDIT COUNSELING REQUIREMENT


Warning: You must be able to check truthfully one of the five statements regarding credit counseling listed below. If you
cannot do so, you are not eligible to file a bankruptcy case, and the court can dismiss any case you do file. If that happens,
you will lose whatever filing fee you paid, and your creditors will be able to resume collection activities against you. If your
case is dismissed and you file another bankruptcy case later, you may be required to pay a second filing fee and you may
have to take extra steps to stop creditors' collection activities.

Every individual debtor must file this Exhibit D. If a joint petition is filed, each spouse must complete and file a separate Exhibit D.
Check one of the five statements below and attach any documents as directed.


þ   1. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit counseling agency
approved by the United States trustee or bankruptcy administrator that outlined the opportunities for available credit counseling
and assisted me in performing a related budget analysis, and I have a certificate from the agency describing the services
provided to me. Attach a copy of the certificate and a copy of any debt repayment plan developed through the agency.

¨   2. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit counseling agency
approved by the United States trustee or bankruptcy administrator that outlined the opportunities for available credit couseling
and assisted me in performing a related budget analysis, but I do not have a certificate from the agency describing the services
provided to me. You must file a copy of a certificate from the agency describing the services provided to you and a copy of any
debt repayment plan developed through the agency no later than 15 days after your bankruptcy case is filed.


¨    3. I certify that I requested credit counseling services from an approved agency but was unable to obtain the services during
the five days from the time I made my request, and the following exigent circumstances merit a temporary waiver of the credit
counseling requirement so I can file my bankruptcy case now. [Summarize exigent circumstances here.]




If your certification is satisfactory to the court, you must still obtain the credit counseling briefing within the first 30 days
after you file your bankruptcy petition and promptly file a certificate from the agency that provided the counseling, together
with a copy of any debt management plan developed through the agency. Failure to fulfill these requirements may result in
dismissal of your case. Any extension of the 30-day deadline can be granted only for cause and is limited to a maximum of
15 days. Your case may also be dismissed if the court is not satisfied with your reasons for filing your bankruptcy case
without first receiving a credit counseling briefing.
                          Case 09-17018-RAM                Doc 1     Filed 04/16/09          Page 5 of 42
B 1D (Official Form 1, Exhibit D) (12/08)   UNITED STATES BANKRUPTCY COURT
                                             SOUTHERN DISTRICT OF FLORIDA
                                                      MIAMI DIVISION
In re:   William C. Cuello                                                            Case No.
                                                                                                           (if known)

                     Debtor(s)

              EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE WITH
                               CREDIT COUNSELING REQUIREMENT
                                                        Continuation Sheet No. 1



¨   4. I am not required to receive a credit counseling briefing because of:    [Check the applicable statement.] [Must be
accompanied by a motion for determination by the court.]

         ¨    Incapacity. (Defined in 11 U.S.C. § 109(h)(4) as impaired by reason of mental illness or mental deficiency so as to
              be incapable of realizing and making rational decisions with respect to financial responsibilites.);


         ¨    Disability. (Defined in 11 U.S.C. § 109(h)(4) as physically impaired to the extent of being unable, after reasonable
              effort, to participate in a credit counseling briefing in person, by telephone, or through the Internet.);


         ¨    Active military duty in a military combat zone.

¨   5. The United States trustee or bankruptcy administrator has determined that the credit counseling requirement of
11 U.S.C. § 109(h) does not apply in this district.


I certify under penalty of perjury that the information provided above is true and correct.


Signature of Debtor:    /s/ William C. Cuello
                       William C. Cuello

Date:       04/16/2009
                             Case 09-17018-RAM                Doc 1   Filed 04/16/09        Page 6 of 42
B6 Summary (Official Form 6 - Summary) (12/07)
                                             UNITED STATES BANKRUPTCY COURT
                                              SOUTHERN DISTRICT OF FLORIDA
                                                       MIAMI DIVISION
   In re William C. Cuello                                                           Case No.

                                                                                     Chapter      7


                                                       SUMMARY OF SCHEDULES
Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals from
Schedules A, B, D, E, F, I, and J in the boxes provided. Add the amounts from Schedules A and B to determine the total amount of the
debtor's assets. Add the amounts of all claims from Schedules D, E, and F to determine the total amount of the debtor's liabilities.
Individual debtors also must complete the "Statistical Summary of Certain Liabilities and Related Data" if they file a case under
chapter 7, 11, or 13.


                                          ATTACHED NO. OF
 NAME OF SCHEDULE                                                       ASSETS                 LIABILITIES                OTHER
                                           (YES/NO) SHEETS

 A - Real Property                               Yes      1                 $333,352.00


 B - Personal Property                           Yes      5                   $6,710.50


 C - Property Claimed                            Yes      2
     as Exempt
 D - Creditors Holding                           Yes      3                                           $294,859.00
     Secured Claims
 E - Creditors Holding Unsecured
     Priority Claims                             Yes      1                                                 $0.00
     (Total of Claims on Schedule E)
 F - Creditors Holding Unsecured                 Yes      7                                            $52,104.00
     Nonpriority Claims
 G - Executory Contracts and                     Yes      1
    Unexpired Leases

 H - Codebtors                                   Yes      1


 I - Current Income of                           Yes      1                                                                  $3,658.52
     Individual Debtor(s)

 J - Current Expenditures of                     Yes      2                                                                  $3,604.95
    Individual Debtor(s)

                                             TOTAL        24                $340,062.50               $346,963.00
                              Case 09-17018-RAM             Doc 1     Filed 04/16/09         Page 7 of 42
Form 6 - Statistical Summary (12/07)
                                            UNITED STATES BANKRUPTCY COURT
                                             SOUTHERN DISTRICT OF FLORIDA
                                                      MIAMI DIVISION
    In re William C. Cuello                                                           Case No.

                                                                                      Chapter       7

      STATISTICAL SUMMARY OF CERTAIN LIABILITIES AND RELATED DATA (28 U.S.C. § 159)
If you are an individual debtor whose debts are primarily consumer debts, as defined in § 101(8) of the Bankruptcy Code (11 U.S.C.
§ 101(8)), filing a case under chapter 7, 11, or 13, you must report all information requested below.


¨    Check this box if you are an individual debtor whose debts are NOT primarily consumer debts. You are not required to report any
     information here.

This information is for statistical purposes only under 28 U.S.C. § 159.
Summarize the following types of liabilities, as reported in the Schedules, and total them.

 Type of Liability                                                    Amount

 Domestic Support Obligations (from Schedule E)                                    $0.00

 Taxes and Certain Other Debts Owed to Governmental Units
                                                                                   $0.00
 (from Schedule E)

 Claims for Death or Personal Injury While Debtor Was                              $0.00
 Intoxicated (from Schedule E) (whether disputed or undisputed)

 Student Loan Obligations (from Schedule F)                                        $0.00

 Domestic Support, Separation Agreement, and Divorce Decree                        $0.00
 Obligations Not Reported on Schedule E

 Obligations to Pension or Profit-Sharing, and Other Similar
                                                                                   $0.00
 Obligations (from Schedule F)

                                                            TOTAL                  $0.00

State the following:

 Average Income (from Schedule I, Line 16)                                     $3,658.52

 Average Expenses (from Schedule J, Line 18)                                   $3,604.95

 Current Monthly Income (from Form 22A Line 12; OR, Form 22B
 Line 11; OR, Form 22C Line 20)                                                $4,327.20

State the following:
 1. Total from Schedule D, "UNSECURED PORTION, IF ANY"
 column                                                                                             $28,069.00

 2. Total from Schedule E, "AMOUNT ENTITLED TO PRIORITY"
 column.                                                                           $0.00

 3. Total from Schedule E, "AMOUNT NOT ENTITLED TO
 PRIORITY, IF ANY" column                                                                                $0.00

 4. Total from Schedule F                                                                           $52,104.00

 5. Total of non-priority unsecured debt (sum of 1, 3, and 4)                                       $80,173.00
                           Case 09-17018-RAM         Doc 1      Filed 04/16/09          Page 8 of 42
B6A (Official Form 6A) (12/07)



In re William C. Cuello                                                          Case No.
                                                                                                                       (if known)



                                            SCHEDULE A - REAL PROPERTY


                                                                                                                    Current Value




                                                                                          Husband, Wife, Joint,
                                                                                                                     of Debtor's
                   Description and                              Nature of Debtor's




                                                                                            or Community
                                                                                                                      Interest in
                     Location of                               Interest in Property
                                                                                                                  Property, Without    Amount Of
                      Property                                                                                                        Secured Claim
                                                                                                                   Deducting Any
                                                                                                                   Secured Claim
                                                                                                                    or Exemption


 Homestead                                             Owner                                 -                        $154,000.00       $182,069.00
 1st Mtg., 2nd Mtg. & H.O.A. **Surrender**
 Debtor surrenders any and all interests from this
 property.
 Address:
 16946 SW 138 Ct.
 Miami, FL 33177

 Purchased and on tittle since January 13, 2005.
 Valuation as per Zillow.com

 Non-Homestead                                         Owner                                 -                        $179,352.00       $112,790.00
 1st Mtg. & H.O.A. **Surrender**
 Debtor surrenders any and all interests from this
 property.
 Address:
 1652 SE 28 St. #201
 Homestead, FL 33035

 Purchased and on tittle since May 2nd, 2006




                                                                                      Total:                          $333,352.00
                                                                                      (Report also on Summary of Schedules)
                             Case 09-17018-RAM                 Doc 1       Filed 04/16/09          Page 9 of 42
B6B (Official Form 6B) (12/07)




In re William C. Cuello                                                                     Case No.
                                                                                                              (if known)



                                         SCHEDULE B - PERSONAL PROPERTY




                                                                                                                   Husband, Wife, Joint,
                                                                                                                                           Current Value of
                                                                                                                                           Debtor's Interest




                                                                                                                     or Community
                                                                                                                                              in Property,

             Type of Property             None                  Description and Location of Property
                                                                                                                                           Without Deducting
                                                                                                                                             any Secured
                                                                                                                                                Claim or
                                                                                                                                               Exemption

1. Cash on hand.                                 Cash money                                                              -                          $25.00


2. Checking, savings or other finan-             Eastern Financial Credit Union Savings Account No.:5765                 -                           $2.00
cial accounts, certificates of deposit
or shares in banks, savings and loan,            Bank of America Checking Account No.:5732                               -                         $800.00
thrift, building and loan, and home-
stead associations, or credit unions,            Bank of America Savings Account No.:1479                                -                          $50.00
brokerage houses, or cooperatives.

3. Security deposits with public util-    X
ities, telephone companies, land-
lords, and others.

4. Household goods and furnishings,              Furniture                                                               -                         $912.50
including audio, video and computer              Description:
equipment.                                       1 sofa, 1 loveseat, 1 coffee table, 2 end table, 2 counter
                                                 stools, 1 bed, 1 crib, 1 drawer, 1 night table, 1 desk, 1
                                                 television, 1 computer, and any other miscellaneous
                                                 furniture.
                                                 Appliances
                                                 Description:
                                                 1 refrigerator, 1 microwave, 1 dishwasher and 1 stove.
                                                 Jointly owned with debtor's non-filing spouse.
                                                 Value:$1,825.00
                                                 Half interest:$912.50



5. Books; pictures and other art                 Decorations                                                             -                          $20.00
objects; antiques; stamp, coin,                  Description:
record, tape, compact disc, and other            Picture frames, flower vases/arrangements, curtains, table
collections or collectibles.                     lamps and any other miscellaneous decorations.
                                                 Jointly owned with debtor's non-filing spouse.
                                                 Value:$40.00
                                                 Half interest:$20.00



6. Wearing apparel.                              Clothing                                                                -                          $80.00
                             Case 09-17018-RAM                Doc 1       Filed 04/16/09       Page 10 of 42
B6B (Official Form 6B) (12/07) -- Cont.




In re William C. Cuello                                                                   Case No.
                                                                                                         (if known)



                                          SCHEDULE B - PERSONAL PROPERTY
                                                            Continuation Sheet No. 1




                                                                                                               Husband, Wife, Joint,
                                                                                                                                       Current Value of
                                                                                                                                       Debtor's Interest




                                                                                                                 or Community
                                                                                                                                          in Property,

             Type of Property              None                 Description and Location of Property
                                                                                                                                       Without Deducting
                                                                                                                                         any Secured
                                                                                                                                            Claim or
                                                                                                                                           Exemption


7. Furs and jewelry.                              Jewelry                                                            -                          $50.00
                                                  Descrption:
                                                  1 Watch. (Seiko)



8. Firearms and sports, photo-             X
graphic, and other hobby equipment.

9. Interests in insurance policies.        X
Name insurance company of each
policy and itemize surrender or
refund value of each.

10. Annuities. Itemize and name            X
each issuer.

11. Interests in an education IRA as       X
defined in 26 U.S.C. § 530(b)(1) or
under a qualified State tuition plan
as defined in 26 U.S.C. § 529(b)(1).
Give particulars. (File separately
the record(s) of any such interest(s).
11 U.S.C. § 521(c).)

12. Interests in IRA, ERISA, Keogh,        X
or other pension or profit sharing
plans. Give particulars.

13. Stock and interests in incorpo-        X
rated and unincorporated businesses.
Itemize.

14. Interests in partnerships or joint     X
ventures. Itemize.
                             Case 09-17018-RAM                Doc 1       Filed 04/16/09       Page 11 of 42
B6B (Official Form 6B) (12/07) -- Cont.




In re William C. Cuello                                                                   Case No.
                                                                                                         (if known)



                                           SCHEDULE B - PERSONAL PROPERTY
                                                            Continuation Sheet No. 2




                                                                                                               Husband, Wife, Joint,
                                                                                                                                       Current Value of
                                                                                                                                       Debtor's Interest




                                                                                                                 or Community
                                                                                                                                          in Property,

             Type of Property               None                Description and Location of Property
                                                                                                                                       Without Deducting
                                                                                                                                         any Secured
                                                                                                                                            Claim or
                                                                                                                                           Exemption


15. Government and corporate bonds          X
and other negotiable and non-
negotiable instruments.

16. Accounts receivable.                    X

17. Alimony, maintenance, support,          X
and property settlements to which the
debtor is or may be entitled. Give
particulars.

18. Other liquidated debts owed to                 2008 Income Tax Refund                                            -                       $4,771.00
debtor including tax refunds. Give
particulars.

19. Equitable or future interests, life     X
estates, and rights or powers exercis-
able for the benefit of the debtor other
than those listed in Schedule A - Real
Property.

20. Contingent and noncontingent            X
interests in estate of a decedent, death
benefit plan, life insurance policy, or
trust.

21. Other contingent and unliqui-           X
dated claims of every nature,
including tax refunds, counterclaims
of the debtor, and rights to setoff
claims. Give estimated value of each.

22. Patents, copyrights, and other          X
intellectual property. Give
particulars.
                             Case 09-17018-RAM                Doc 1          Filed 04/16/09    Page 12 of 42
B6B (Official Form 6B) (12/07) -- Cont.




In re William C. Cuello                                                                   Case No.
                                                                                                         (if known)



                                          SCHEDULE B - PERSONAL PROPERTY
                                                            Continuation Sheet No. 3




                                                                                                               Husband, Wife, Joint,
                                                                                                                                       Current Value of
                                                                                                                                       Debtor's Interest




                                                                                                                 or Community
                                                                                                                                          in Property,

             Type of Property              None                 Description and Location of Property
                                                                                                                                       Without Deducting
                                                                                                                                         any Secured
                                                                                                                                            Claim or
                                                                                                                                           Exemption


23. Licenses, franchises, and other        X
general intangibles. Give particulars.

24. Customer lists or other compilations   X
containing personally identifiable
information (as defined in 11 U.S.C.
§ 101(41A)) provided to the debtor by
individuals in connection with obtaining
a product or service from the debtor
primarily for personal, family, or
household purposes.

25. Automobiles, trucks, trailers,                Debtor leases a vehicle.                                           -                           $0.00
and other vehicles and accessories.

26. Boats, motors, and accessories.        X

27. Aircraft and accessories.              X

28. Office equipment, furnishings,         X
and supplies.

29. Machinery, fixtures, equipment,        X
and supplies used in business.

30. Inventory.                             X

31. Animals.                               X

32. Crops - growing or harvested.          X
Give particulars.

33. Farming equipment and                  X
implements.

34. Farm supplies, chemicals, and          X
feed.
                             Case 09-17018-RAM                 Doc 1        Filed 04/16/09           Page 13 of 42
B6B (Official Form 6B) (12/07) -- Cont.




In re William C. Cuello                                                                       Case No.
                                                                                                                     (if known)



                                          SCHEDULE B - PERSONAL PROPERTY
                                                             Continuation Sheet No. 4




                                                                                                                          Husband, Wife, Joint,
                                                                                                                                                  Current Value of
                                                                                                                                                  Debtor's Interest




                                                                                                                            or Community
                                                                                                                                                     in Property,

             Type of Property                 None               Description and Location of Property
                                                                                                                                                  Without Deducting
                                                                                                                                                    any Secured
                                                                                                                                                       Claim or
                                                                                                                                                      Exemption


35. Other personal property of any            X
kind not already listed. Itemize.




                                                                          4           continuation sheets attached   Total >                            $6,710.50
             (Include amounts from any continuation sheets attached. Report total also on Summary of Schedules.)
                              Case 09-17018-RAM                    Doc 1   Filed 04/16/09          Page 14 of 42
B6C (Official Form 6C) (12/07)



In re William C. Cuello                                                                       Case No.
                                                                                                                  (If known)



                                     SCHEDULE C - PROPERTY CLAIMED AS EXEMPT


 Debtor claims the exemptions to which debtor is entitled under:              ¨   Check if debtor claims a homestead exemption that exceeds
 (Check one box)                                                                  $136,875.

 ¨    11 U.S.C. § 522(b)(2)
 þ    11 U.S.C. § 522(b)(3)




                                                                                                                                    Current
                                                                                                                               Value of Property
                                                              Specify Law Providing Each              Value of Claimed
              Description of Property                                                                                          Without Deducting
                                                                       Exemption                         Exemption
                                                                                                                                   Exemption



 Cash money                                              F.S. 222.25(4)                                           $25.00                  $25.00

 Eastern Financial Credit Union Savings Account          Art. 10, § 4(a)(2) of Constitution                        $2.00                      $2.00
 No.:5765

 Bank of America Checking Account No.:5732               FSA § 222.11                                           $800.00                 $800.00

 Bank of America Savings Account No.:1479                F.S. 222.25(4)                                           $50.00                  $50.00

 Furniture                                               Art. 10, § 4(a)(2) of Constitution                     $912.50                 $912.50
 Description:
 1 sofa, 1 loveseat, 1 coffee table, 2 end table, 2
 counter stools, 1 bed, 1 crib, 1 drawer, 1 night
 table, 1 desk, 1 television, 1 computer, and any
 other miscellaneous furniture.

 Appliances
 Description:
 1 refrigerator, 1 microwave, 1 dishwasher and 1
 stove.



 Jointly owned with debtor's non-filing spouse.
 Value:$1,825.00
 Half interest:$912.50

 Decorations                                             F.S. 222.25(4)                                           $20.00                  $20.00
 Description:
 Picture frames, flower vases/arrangements,
 curtains, table lamps and any other


                                                                                                              $1,809.50               $1,809.50
                             Case 09-17018-RAM          Doc 1       Filed 04/16/09         Page 15 of 42
B6C (Official Form 6C) (12/07) -- Cont.



In re William C. Cuello                                                                Case No.
                                                                                                        (If known)



                                      SCHEDULE C - PROPERTY CLAIMED AS EXEMPT

                                                      Continuation Sheet No. 1



                                                                                                                          Current
                                                                                                                     Value of Property
                                                      Specify Law Providing Each              Value of Claimed       Without Deducting
              Description of Property
                                                               Exemption                         Exemption               Exemption



 miscellaneous decorations.

 Jointly owned with debtor's non-filing spouse.
 Value:$40.00
 Half interest:$20.00

 Clothing                                         Art. 10, § 4(a)(2) of Constitution                    $80.00                 $80.00

 Jewelry                                          F.S. 222.25(4)                                        $50.00                 $50.00
 Descrption:
 1 Watch. (Seiko)

 2008 Income Tax Refund                           F.S. 222.25(4)                                     $3,855.00              $4,771.00




                                                                                                     $5,794.50              $6,710.50
                          Case 09-17018-RAM                                                Doc 1    Filed 04/16/09          Page 16 of 42
B6D (Official Form 6D) (12/07)
          In re William C. Cuello                                                                                      Case No.
                                                                                                                                                     (if known)



                               SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
                         ¨    Check this box if debtor has no creditors holding secured claims to report on this Schedule D.




                                                          HUSBAND, WIFE, JOINT,
         CREDITOR'S NAME AND                                                                   DATE CLAIM WAS                                  AMOUNT OF          UNSECURED




                                                                                                                                UNLIQUIDATED
           MAILING ADDRESS                                                                   INCURRED, NATURE                                    CLAIM            PORTION, IF




                                                                                                                                 CONTINGENT
                                                            OR COMMUNITY
                                               CODEBTOR




                                                                                                                                  DISPUTED
       INCLUDING ZIP CODE AND                                                                   OF LIEN, AND                                    WITHOUT              ANY
         AN ACCOUNT NUMBER                                                                    DESCRIPTION AND                                  DEDUCTING
         (See Instructions Above.)                                                                VALUE OF                                      VALUE OF
                                                                                             PROPERTY SUBJECT                                  COLLATERAL
                                                                                                   TO LIEN
                                                                                  DATE INCURRED:    03/2007
ACCT #: 68218008324899                                                            NATURE OF LIEN:
                                                                                  Second Mortgage
Bank Of America                                                                   COLLATERAL:
                                                                                  Homestead                                                       $89,529.00         $28,069.00
4161 Piedmont Pkwy                                              -                 REMARKS:
Greensboro, NC 27410                                                              1st Mtg., 2nd Mtg. & H.O.A.
                                                                                  **Surrender**
                                                                                  Debtor surrenders any and all
                                                                                  interests from this property.
                                                                                  Address:
                                                                                  16946 SW 138 Ct.
                                                                                  Miami, FL 33177




                                                                                  VALUE:                          $154,000.00
                                                                                  DATE INCURRED:    05/2006
ACCT #: 9553576503                                                                NATURE OF LIEN:
                                                                                  Mortgage
Eastern Financial Fl C                                                            COLLATERAL:
                                                                                  Non-Homestead                                                  $112,790.00
PoB 825871                                                      -                 REMARKS:
South Florida, FL 33082                                                           1st Mtg. & H.O.A. **Surrender**
                                                                                  Debtor surrenders any and all
                                                                                  interests from this property.
                                                                                  Address:
                                                                                  1652 SE 28 St. #201
                                                                                  Homestead, FL 33035




                                                                                  VALUE:                        $179,352.00
                                                                                                      Subtotal (Total of this Page) >             $202,319.00          $28,069.00
                                                                                                     Total (Use only on last page) >
________________continuation
       2                     sheets attached                                                                                                   (Report also on    (If applicable,
                                                                                                                                               Summary of         report also on
                                                                                                                                               Schedules.)        Statistical
                                                                                                                                                                  Summary of
                                                                                                                                                                  Certain Liabilities
                                                                                                                                                                  and Related
                                                                                                                                                                  Data.)
                            Case 09-17018-RAM                                                Doc 1    Filed 04/16/09          Page 17 of 42
B6D (Official Form 6D) (12/07) - Cont.
          In re William C. Cuello                                                                                        Case No.
                                                                                                                                                       (if known)



                                  SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS




                                                            HUSBAND, WIFE, JOINT,
          CREDITOR'S NAME AND                                                                    DATE CLAIM WAS                                  AMOUNT OF          UNSECURED




                                                                                                                                  UNLIQUIDATED
            MAILING ADDRESS                                                                    INCURRED, NATURE                                    CLAIM            PORTION, IF




                                                                                                                                   CONTINGENT
                                                              OR COMMUNITY
                                                 CODEBTOR




                                                                                                                                    DISPUTED
        INCLUDING ZIP CODE AND                                                                    OF LIEN, AND                                    WITHOUT              ANY
          AN ACCOUNT NUMBER                                                                     DESCRIPTION AND                                  DEDUCTING
          (See Instructions Above.)                                                                 VALUE OF                                      VALUE OF
                                                                                               PROPERTY SUBJECT                                  COLLATERAL
                                                                                                     TO LIEN
                                                                                    DATE INCURRED:    10/2004
ACCT #: 9553576502                                                                  NATURE OF LIEN:
                                                                                    Mortgage
Eastern Financial Fl C                                                              COLLATERAL:
                                                                                    Homestead                                                       $92,540.00
PoB 825871                                                        -                 REMARKS:
South Florida, FL 33082                                                             1st Mtg., 2nd Mtg. & H.O.A.
                                                                                    **Surrender**
                                                                                    Debtor surrenders any and all
                                                                                    interests from this property.
                                                                                    Address:
                                                                                    16946 SW 138 Ct.
                                                                                    Miami, FL 33177




                                                                                    VALUE:                          $154,000.00
                                                                                    DATE INCURRED:
ACCT #: 1844-000505-CU                                                              NATURE OF LIEN:
                                                                                    Homeowners Association
Los Cazadores North HOA                                                             COLLATERAL:
                                                                                    Homestead                                                             $0.00
14275 SW 142 Ave.                                                 -                 REMARKS:
Miami, FL 33186                                                                     1st Mtg., 2nd Mtg. & H.O.A.
                                                                                    **Surrender**
                                                                                    Debtor surrenders any and all
                                                                                    interests from this property.
                                                                                    Address:
                                                                                    16946 SW 138 Ct.
                                                                                    Miami, FL 33177




                                                                                    VALUE:                        $154,000.00
Sheet no. __________
               1       of __________
                                2     continuation sheets attached                                      Subtotal (Total of this Page) >               $92,540.00               $0.00
to Schedule of Creditors Holding Secured Claims                                                        Total (Use only on last page) >
                                                                                                                                                 (Report also on    (If applicable,
                                                                                                                                                 Summary of         report also on
                                                                                                                                                 Schedules.)        Statistical
                                                                                                                                                                    Summary of
                                                                                                                                                                    Certain Liabilities
                                                                                                                                                                    and Related
                                                                                                                                                                    Data.)
                            Case 09-17018-RAM                                                Doc 1    Filed 04/16/09          Page 18 of 42
B6D (Official Form 6D) (12/07) - Cont.
          In re William C. Cuello                                                                                       Case No.
                                                                                                                                                     (if known)



                                  SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS




                                                            HUSBAND, WIFE, JOINT,
          CREDITOR'S NAME AND                                                                    DATE CLAIM WAS                                 AMOUNT OF         UNSECURED




                                                                                                                                 UNLIQUIDATED
            MAILING ADDRESS                                                                    INCURRED, NATURE                                   CLAIM           PORTION, IF




                                                                                                                                  CONTINGENT
                                                              OR COMMUNITY
                                                 CODEBTOR




                                                                                                                                   DISPUTED
        INCLUDING ZIP CODE AND                                                                    OF LIEN, AND                                   WITHOUT             ANY
          AN ACCOUNT NUMBER                                                                     DESCRIPTION AND                                 DEDUCTING
          (See Instructions Above.)                                                                 VALUE OF                                     VALUE OF
                                                                                               PROPERTY SUBJECT                                 COLLATERAL
                                                                                                     TO LIEN
                                                                                    DATE INCURRED:
ACCT #: 06320001083801                                                              NATURE OF LIEN:
                                                                                    Homeowners Association
Shoma Homes @ Keys Cove                                                             COLLATERAL:
                                                                                    Non-Homestead                                                        $0.00
C/O The Continental Group, Inc                                    -                 REMARKS:
POB 028104                                                                          1st Mtg. & H.O.A. **Surrender**
Miami, FL 33102                                                                     Debtor surrenders any and all
                                                                                    interests from this property.
                                                                                    Address:
                                                                                    1652 SE 28 St. #201
                                                                                    Homestead, FL 33035




                                                                                    VALUE:                        $179,352.00




Sheet no. __________
               2       of __________
                                2     continuation sheets attached                                      Subtotal (Total of this Page) >                  $0.00               $0.00
to Schedule of Creditors Holding Secured Claims                                                        Total (Use only on last page) >             $294,859.00          $28,069.00
                                                                                                                                                (Report also on   (If applicable,
                                                                                                                                                Summary of        report also on
                                                                                                                                                Schedules.)       Statistical
                                                                                                                                                                  Summary of
                                                                                                                                                                  Certain Liabilities
                                                                                                                                                                  and Related
                                                                                                                                                                  Data.)
                             Case 09-17018-RAM                   Doc 1         Filed 04/16/09            Page 19 of 42
B6E (Official Form 6E) (12/07)

In re William C. Cuello                                                                           Case No.
                                                                                                                            (If Known)



                    SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS

þ Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.

TYPES OF PRIORITY CLAIMS                       (Check the appropriate box(es) below if claims in that category are listed on the attached sheets.)

¨   Domestic Support Obligations
    Claims for domestic support that are owed to or recoverable by a spouse, former spouse, or child of the debtor, or the parent, legal guardian,
    or responsible relative of such a child, or a governmental unit to whom such a domestic support claim has been assigned to the extent
    provided in 11 U.S.C. § 507(a)(1).


¨   Extensions of credit in an involuntary case
    Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the earlier of
    the appointment of a trustee or the order for relief. 11 U.S.C. § 507(a)(3).

¨   Wages, salaries, and commissions
    Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to
    qualifying independent sales representatives up to $10,950* per person earned within 180 days immediately preceding the filing of the original
    petition, or the cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(4).


¨   Contributions to employee benefit plans
    Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or the
    cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(5).


¨   Certain farmers and fishermen
    Claims of certain farmers and fishermen, up to $5,400* per farmer or fisherman, against the debtor, as provided in 11 U.S.C. § 507(a)(6).


¨   Deposits by individuals
    Claims of individuals up to $2,425* for deposits for the purchase, lease or rental of property or services for personal, family, or household use,
    that were not delivered or provided. 11 U.S.C. § 507(a)(7).


¨   Taxes and Certain Other Debts Owed to Governmental Units
    Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C. § 507(a)(8).


¨   Commitments to Maintain the Capital of an Insured Depository Institution
    Claims based on commitments to the FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency, or Board of Governors
    of the Federal Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution. 11 U.S.C.
    § 507(a)(9).


¨   Claims for Death or Personal Injury While Debtor Was Intoxicated
    Claims for death or personal injury resulting from the operation of a motor vehicle or vessel while the debtor was intoxicated from using
    alcohol, a drug, or another substance. 11 U.S.C. § 507(a)(10).


¨   Administrative allowances under 11 U.S.C. Sec. 330
    Claims based on services rendered by the trustee, examiner, professional person, or attorney and by any paraprofessional person employed
    by such person as approved by the court and/or in accordance with 11 U.S.C. §§ 326, 328, 329 and 330.


* Amounts are subject to adjustment on April 1, 2010, and every three years thereafter with respect to cases commenced on or after the date of
adjustment.

________________continuation
       No                    sheets attached
                           Case 09-17018-RAM                                           Doc 1         Filed 04/16/09       Page 20 of 42
B6F (Official Form 6F) (12/07)
  In re William C. Cuello                                                                                            Case No.
                                                                                                                                (if known)



                    SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
¨   Check this box if debtor has no creditors holding unsecured claims to report on this Schedule F.




                                                               HUSBAND, WIFE, JOINT,
                CREDITOR'S NAME,                                                                      DATE CLAIM WAS                                 AMOUNT OF




                                                                                                                                      UNLIQUIDATED
                MAILING ADDRESS                                                                        INCURRED AND                                    CLAIM




                                                                                                                                       CONTINGENT
                                                                 OR COMMUNITY
                                                    CODEBTOR




                                                                                                                                        DISPUTED
              INCLUDING ZIP CODE,                                                                   CONSIDERATION FOR
            AND ACCOUNT NUMBER                                                                             CLAIM.
             (See instructions above.)                                                            IF CLAIM IS SUBJECT TO
                                                                                                     SETOFF, SO STATE.


ACCT #: 3772-147943-11003                                                              DATE INCURRED:
                                                                                       CONSIDERATION:
Aegis Receivables Management Inc.                                                      Credit Card                                                           $1.00
POB 10908                                                                              REMARKS:
                                                                   -
San Rafael, CA 94912



ACCT #: 3499914474945683                                                               DATE INCURRED:   06/13/2003
                                                                                       CONSIDERATION:
American Express                                                                       Credit Card                                                      $12,680.00
c/o Becket and Lee                                                                     REMARKS:
                                                                   -
POB 3001                                                                               Other Account No.:377214794311003
Malvern, PA 19355

ACCT #: 3499911853875863                                                               DATE INCURRED:   12/24/2003
                                                                                       CONSIDERATION:
American Express                                                                       Credit Card                                                        $545.00
c/o Becket and Lee                                                                     REMARKS:
                                                                   -
POB 3001
Malvern, PA 19355

ACCT #: 3715-769587-61009                                                              DATE INCURRED:
                                                                                       CONSIDERATION:
American Express                                                                       Credit Card                                                           $1.00
POB 47455                                                                              REMARKS:
                                                                   -
Jackonville, FL. 32247



ACCT #: 43660627                                                                       DATE INCURRED:   04/2004
                                                                                       CONSIDERATION:
American Honda Finance                                                                 Notice Only                                                    Notice Only
POB 168088                                                                             REMARKS:
                                                                   -
Irving, TX 75016



ACCT #: 7948                                                                           DATE INCURRED:   03/2000
                                                                                       CONSIDERATION:
Bac / Fleet Bankcard                                                                   Credit Card                                                           $1.00
POB 26012                                                                              REMARKS:
                                                                   -
Greensboro, NC 27420



                                                                                                                                  Subtotal >             $13,228.00

                                                                                                                         Total >
                                                                           (Use only on last page of the completed Schedule F.)
________________continuation
       6                     sheets attached                   (Report also on Summary of Schedules and, if applicable, on the
                                                                   Statistical Summary of Certain Liabilities and Related Data.)
                            Case 09-17018-RAM                                             Doc 1         Filed 04/16/09        Page 21 of 42
B6F (Official Form 6F) (12/07) - Cont.
  In re William C. Cuello                                                                                              Case No.
                                                                                                                                        (if known)



                     SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS




                                                                  HUSBAND, WIFE, JOINT,
                CREDITOR'S NAME,                                                                         DATE CLAIM WAS                                       AMOUNT OF




                                                                                                                                               UNLIQUIDATED
                MAILING ADDRESS                                                                           INCURRED AND                                          CLAIM




                                                                                                                                                CONTINGENT
                                                                    OR COMMUNITY
                                                       CODEBTOR




                                                                                                                                                 DISPUTED
              INCLUDING ZIP CODE,                                                                      CONSIDERATION FOR
            AND ACCOUNT NUMBER                                                                                CLAIM.
             (See instructions above.)                                                               IF CLAIM IS SUBJECT TO
                                                                                                        SETOFF, SO STATE.


ACCT #: 68218008324899                                                                    DATE INCURRED:   03/2007
                                                                                          CONSIDERATION:
Bank Of America                                                                           Foreclosed Mortgage                                                        $1.00
4161 Piedmont Pkwy                                                                        REMARKS:
                                                                      -
Greensboro, NC 27410



ACCT #: 68211042966099                                                                    DATE INCURRED:   10/2004
                                                                                          CONSIDERATION:
Bank Of America                                                                           Credit Card                                                                $1.00
4161 Piedmont Pkwy                                                                        REMARKS:
                                                                      -
Greensboro, NC 27410



ACCT #: 09-9622 CA 11                                                                     DATE INCURRED:
                                                                                          CONSIDERATION:
Blaxberg, Grayson, & Kukoff, P.A                                                          Attorney for -Eastern Financial Florida Credit Uni                         $1.00
Ingraham Bldg, #730                                                                       REMARKS:
                                                                      -
25 SE Second Ave
Miami, FL 33131

ACCT #: 517805251684                                                                      DATE INCURRED:   12/2004
                                                                                          CONSIDERATION:
Capital 1 Bank                                                                            Credit Card                                                                $1.00
Attn: C/O TSYS Debt Management                                                            REMARKS:
                                                                      -
POB 5155
Norcross, GA 30091

ACCT #: 4147-2020-2391-0399                                                               DATE INCURRED:   07/2006
                                                                                          CONSIDERATION:
Chase - Cc                                                                                Credit Card                                                            $8,316.00
Attn: Banktruptcy Dept                                                                    REMARKS:
                                                                      -
POB 15298
Wilmintgon, DE 19850

ACCT #: 426684109580                                                                      DATE INCURRED:   05/2006
                                                                                          CONSIDERATION:
Chase - Cc                                                                                Credit Card                                                                $1.00
Attn: Banktruptcy Dept                                                                    REMARKS:
                                                                      -
POB 15298
Wilmintgon, DE 19850

Sheet no. __________
              1        of __________
                               6     continuation sheets attached to                                                                      Subtotal >              $8,321.00
Schedule of Creditors Holding Unsecured Nonpriority Claims
                                                                                                                            Total >
                                                                              (Use only on last page of the completed Schedule F.)
                                                                  (Report also on Summary of Schedules and, if applicable, on the
                                                                      Statistical Summary of Certain Liabilities and Related Data.)
                            Case 09-17018-RAM                                             Doc 1         Filed 04/16/09    Page 22 of 42
B6F (Official Form 6F) (12/07) - Cont.
  In re William C. Cuello                                                                                            Case No.
                                                                                                                                (if known)



                     SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS




                                                                  HUSBAND, WIFE, JOINT,
                CREDITOR'S NAME,                                                                         DATE CLAIM WAS                              AMOUNT OF




                                                                                                                                      UNLIQUIDATED
                MAILING ADDRESS                                                                           INCURRED AND                                 CLAIM




                                                                                                                                       CONTINGENT
                                                                    OR COMMUNITY
                                                       CODEBTOR




                                                                                                                                        DISPUTED
              INCLUDING ZIP CODE,                                                                      CONSIDERATION FOR
            AND ACCOUNT NUMBER                                                                                CLAIM.
             (See instructions above.)                                                               IF CLAIM IS SUBJECT TO
                                                                                                        SETOFF, SO STATE.


ACCT #: 2200614364                                                                        DATE INCURRED:   05/1998
                                                                                          CONSIDERATION:
Chase Bank Usa, Na                                                                        Credit Card                                                       $1.00
POB 9180                                                                                  REMARKS:
                                                                      -
Pleasanton, CA 94566



ACCT #: 5222763120                                                                        DATE INCURRED:   06/1999
                                                                                          CONSIDERATION:
Chase Na                                                                                  Credit Card                                                       $1.00
Attn: Bankruptcy Dept                                                                     REMARKS:
                                                                      -
POB 100018
Kennesaw, GA 30156

ACCT #: 542418035999                                                                      DATE INCURRED:   04/2000
                                                                                          CONSIDERATION:
Citi                                                                                      Credit Card                                                       $1.00
Attn: Centralized Bankruptcy                                                              REMARKS:
                                                                      -
POB 20507
Kansas City, MO 64915

ACCT #: 603259025601                                                                      DATE INCURRED:   09/2003
                                                                                          CONSIDERATION:
Citifinancial Retail Services                                                             Credit Card                                                       $1.00
POB 140489                                                                                REMARKS:
                                                                      -
Irving, TX 75014



ACCT #: 23830982                                                                          DATE INCURRED:   01/2003
                                                                                          CONSIDERATION:
Countrywide Home Lending                                                                  Notice Only                                                 Notice Only
Attn: Bankruptcy SV-314B                                                                  REMARKS:
                                                                      -
POB 5170
Simi Valley, CA 93062

ACCT #: 601100475065                                                                      DATE INCURRED:   07/2001
                                                                                          CONSIDERATION:
Discover Fin Svcs Llc                                                                     Credit Card                                                       $1.00
PoB 15316                                                                                 REMARKS:
                                                                      -
Wilmington, DE 19850



Sheet no. __________
              2        of __________
                               6     continuation sheets attached to                                                              Subtotal >                 $5.00
Schedule of Creditors Holding Unsecured Nonpriority Claims
                                                                                                                            Total >
                                                                              (Use only on last page of the completed Schedule F.)
                                                                  (Report also on Summary of Schedules and, if applicable, on the
                                                                      Statistical Summary of Certain Liabilities and Related Data.)
                            Case 09-17018-RAM                                             Doc 1         Filed 04/16/09     Page 23 of 42
B6F (Official Form 6F) (12/07) - Cont.
  In re William C. Cuello                                                                                            Case No.
                                                                                                                                    (if known)



                     SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS




                                                                  HUSBAND, WIFE, JOINT,
                CREDITOR'S NAME,                                                                         DATE CLAIM WAS                                    AMOUNT OF




                                                                                                                                            UNLIQUIDATED
                MAILING ADDRESS                                                                           INCURRED AND                                       CLAIM




                                                                                                                                             CONTINGENT
                                                                    OR COMMUNITY
                                                       CODEBTOR




                                                                                                                                              DISPUTED
              INCLUDING ZIP CODE,                                                                      CONSIDERATION FOR
            AND ACCOUNT NUMBER                                                                                CLAIM.
             (See instructions above.)                                                               IF CLAIM IS SUBJECT TO
                                                                                                        SETOFF, SO STATE.


ACCT #: 601100436017                                                                      DATE INCURRED:   06/1999
                                                                                          CONSIDERATION:
Discover Fin Svcs Llc                                                                     Credit Card                                                              $1.00
PoB 15316                                                                                 REMARKS:
                                                                      -
Wilmington, DE 19850



ACCT #: 9553576503                                                                        DATE INCURRED:   05/2006
                                                                                          CONSIDERATION:
Eastern Financial Fl C                                                                    Foreclosed Mortgage                                                      $1.00
PoB 825871                                                                                REMARKS:
                                                                      -
South Florida, FL 33082                                                                   Foreclosure Lawsuit. Case No.:09-9622 CA 11



ACCT #: 9553576502                                                                        DATE INCURRED:   10/2004
                                                                                          CONSIDERATION:
Eastern Financial Fl C                                                                    Foreclosed Mortgage                                                      $1.00
PoB 825871                                                                                REMARKS:
                                                                      -
South Florida, FL 33082



ACCT #: 5156-2800-0000-2146                                                               DATE INCURRED:   11/2005
                                                                                          CONSIDERATION:
Eastern Financial Fl C                                                                    Credit Card                                                         $13,743.00
3700 Lakeside Dr                                                                          REMARKS:
                                                                      -
Miramar, FL 33027



ACCT #: 4313-0770-7732-1083                                                               DATE INCURRED:   02/1999
                                                                                          CONSIDERATION:
Fia Csna                                                                                  Credit Card                                                         $16,793.00
POB 26012                                                                                 REMARKS:
                                                                      -
NC4-105-02-77
Greensboro, NC 27410

ACCT #: CMN202C90J                                                                        DATE INCURRED:   08/1999
                                                                                          CONSIDERATION:
Ford Motor Credit Corporation                                                             Notice Only                                                       Notice Only
National Bankruptcy Center                                                                REMARKS:
                                                                      -
POB 537901
Livonia, MI 48153

Sheet no. __________
              3        of __________
                               6     continuation sheets attached to                                                                    Subtotal >             $30,539.00
Schedule of Creditors Holding Unsecured Nonpriority Claims
                                                                                                                            Total >
                                                                              (Use only on last page of the completed Schedule F.)
                                                                  (Report also on Summary of Schedules and, if applicable, on the
                                                                      Statistical Summary of Certain Liabilities and Related Data.)
                            Case 09-17018-RAM                                             Doc 1         Filed 04/16/09       Page 24 of 42
B6F (Official Form 6F) (12/07) - Cont.
  In re William C. Cuello                                                                                               Case No.
                                                                                                                                   (if known)



                     SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS




                                                                  HUSBAND, WIFE, JOINT,
                CREDITOR'S NAME,                                                                           DATE CLAIM WAS                               AMOUNT OF




                                                                                                                                         UNLIQUIDATED
                MAILING ADDRESS                                                                             INCURRED AND                                  CLAIM




                                                                                                                                          CONTINGENT
                                                                    OR COMMUNITY
                                                       CODEBTOR




                                                                                                                                           DISPUTED
              INCLUDING ZIP CODE,                                                                        CONSIDERATION FOR
            AND ACCOUNT NUMBER                                                                                  CLAIM.
             (See instructions above.)                                                                 IF CLAIM IS SUBJECT TO
                                                                                                          SETOFF, SO STATE.


ACCT #: 3715-769587-61009                                                                 DATE INCURRED:
                                                                                          CONSIDERATION:
GC Services Limited Partnership                                                           Collection                                                           $1.00
Collection Agency Division                                                                REMARKS:
                                                                      -
6330 Gulfton
Houston, TX 77081

ACCT #: 601917010776                                                                      DATE INCURRED:   10/09/2005
                                                                                          CONSIDERATION:
GEMB / HH Gregg                                                                           Credit Card                                                          $1.00
Attn: Bankruptcy                                                                          REMARKS:
                                                                      -
POB 103106
Roswell, GA 30076

ACCT #: 601919020719                                                                      DATE INCURRED:   10/08/2006
                                                                                          CONSIDERATION:
GEMB / HH Gregg                                                                           Credit Card                                                          $1.00
Attn: Bankruptcy                                                                          REMARKS:
                                                                      -
POB 103106
Roswell, GA 30076

ACCT #: XXX-XX-9814                                                                       DATE INCURRED:
                                                                                          CONSIDERATION:
Honorable Marcos Daniel Jimenez                                                           Notice Only                                                    Notice Only
United States Attorney                                                                    REMARKS:
                                                                      -
99 NE 4 St
Miami, Fl 33132

ACCT #: XXX-XX-9814                                                                       DATE INCURRED:
                                                                                          CONSIDERATION:
Honorable Michael B. Mukasey                                                              Notice Only                                                    Notice Only
Attorney General of the United States                                                     REMARKS:
                                                                      -
Dept of Justice #4400
950 Pennsylvania Ave NW
Washington, DC 20530
ACCT #: 1013386584                                                                        DATE INCURRED:   06/2001
                                                                                          CONSIDERATION:
Hsbc/saks                                                                                 Credit Card                                                          $1.00
POB 15521                                                                                 REMARKS:
                                                                      -
Wilmington, DE 19805



Sheet no. __________
              4        of __________
                               6     continuation sheets attached to                                                                 Subtotal >                 $4.00
Schedule of Creditors Holding Unsecured Nonpriority Claims
                                                                                                                            Total >
                                                                              (Use only on last page of the completed Schedule F.)
                                                                  (Report also on Summary of Schedules and, if applicable, on the
                                                                      Statistical Summary of Certain Liabilities and Related Data.)
                            Case 09-17018-RAM                                             Doc 1         Filed 04/16/09       Page 25 of 42
B6F (Official Form 6F) (12/07) - Cont.
  In re William C. Cuello                                                                                               Case No.
                                                                                                                                   (if known)



                     SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS




                                                                  HUSBAND, WIFE, JOINT,
                CREDITOR'S NAME,                                                                         DATE CLAIM WAS                                 AMOUNT OF




                                                                                                                                         UNLIQUIDATED
                MAILING ADDRESS                                                                           INCURRED AND                                    CLAIM




                                                                                                                                          CONTINGENT
                                                                    OR COMMUNITY
                                                       CODEBTOR




                                                                                                                                           DISPUTED
              INCLUDING ZIP CODE,                                                                      CONSIDERATION FOR
            AND ACCOUNT NUMBER                                                                                CLAIM.
             (See instructions above.)                                                               IF CLAIM IS SUBJECT TO
                                                                                                        SETOFF, SO STATE.


ACCT #: 2866110101338826                                                                  DATE INCURRED:   09/24/2006
                                                                                          CONSIDERATION:
Hsbc/sony                                                                                 Credit Card                                                          $1.00
90 Christiana Rd                                                                          REMARKS:
                                                                      -
New Castle, DE 19720



ACCT #: XXX-XX-9814                                                                       DATE INCURRED:
                                                                                          CONSIDERATION:
Internal Revenue Serv.                                                                    Notice Only                                                    Notice Only
Compliance Serv. Insolvency                                                               REMARKS:
                                                                      -
STOP 5730
7850 SW 6 Ct
Plantation, Fl 33324
ACCT #: XXX-XX-9814                                                                       DATE INCURRED:
                                                                                          CONSIDERATION:
Internal Revenue Service                                                                  Notice Only                                                    Notice Only
POB 21126                                                                                 REMARKS:
                                                                      -
Philadelphia, PA 19114-0326



ACCT #: 4767548557320                                                                     DATE INCURRED:   07/1998
                                                                                          CONSIDERATION:
Macys/fdsb                                                                                Credit Card                                                          $1.00
Macy's Bankruptcy                                                                         REMARKS:
                                                                      -
POB 8053
Mason, OH 45040

ACCT #: 4794922461520                                                                     DATE INCURRED:   11/2008
                                                                                          CONSIDERATION:
Macys/fdsb                                                                                Charge Account                                                       $1.00
Macy's Bankruptcy                                                                         REMARKS:
                                                                      -
POB 8053
Mason, OH 45040

ACCT #: XXX-XX-9814                                                                       DATE INCURRED:
                                                                                          CONSIDERATION:
Miami Dade Tax Collector                                                                  Taxes                                                                $1.00
140 W Flagler St                                                                          REMARKS:
                                                                      -
Miami,FL 33130



Sheet no. __________
              5        of __________
                               6     continuation sheets attached to                                                                 Subtotal >                 $4.00
Schedule of Creditors Holding Unsecured Nonpriority Claims
                                                                                                                            Total >
                                                                              (Use only on last page of the completed Schedule F.)
                                                                  (Report also on Summary of Schedules and, if applicable, on the
                                                                      Statistical Summary of Certain Liabilities and Related Data.)
                            Case 09-17018-RAM                                             Doc 1         Filed 04/16/09       Page 26 of 42
B6F (Official Form 6F) (12/07) - Cont.
  In re William C. Cuello                                                                                               Case No.
                                                                                                                                   (if known)



                     SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS




                                                                  HUSBAND, WIFE, JOINT,
                CREDITOR'S NAME,                                                                         DATE CLAIM WAS                                 AMOUNT OF




                                                                                                                                         UNLIQUIDATED
                MAILING ADDRESS                                                                           INCURRED AND                                    CLAIM




                                                                                                                                          CONTINGENT
                                                                    OR COMMUNITY
                                                       CODEBTOR




                                                                                                                                           DISPUTED
              INCLUDING ZIP CODE,                                                                      CONSIDERATION FOR
            AND ACCOUNT NUMBER                                                                                CLAIM.
             (See instructions above.)                                                               IF CLAIM IS SUBJECT TO
                                                                                                        SETOFF, SO STATE.


ACCT #: 5121071800157483                                                                  DATE INCURRED:   03/1999
                                                                                          CONSIDERATION:
Sears/cbsd                                                                                Credit Card                                                          $1.00
Sears Bankruptcy Recovery                                                                 REMARKS:
                                                                      -
7920 NW 110 St
Kansas City, MO 64101

ACCT #: XXX-XX-9814                                                                       DATE INCURRED:
                                                                                          CONSIDERATION:
Special Assistant United States Attorney                                                  Notice Only                                                    Notice Only
c/o Internal Revenue Serv. Area Counsel                                                   REMARKS:
                                                                      -
Claude Pepper Federal Bldg.
51 SW 1 Ave # 1114
Miami, Fl 33130
ACCT #: XXX-XX-9814                                                                       DATE INCURRED:
                                                                                          CONSIDERATION:
Special Assistant United States Attorney                                                  Notice Only                                                    Notice Only
Internal Revenue Serv. Area Counsel                                                       REMARKS:
                                                                      -
1000 S Pine Island Rd # 300
Plantation, Fl 33324

ACCT #: 549113037956                                                                      DATE INCURRED:   10/01/2000
                                                                                          CONSIDERATION:
Unvl/citi                                                                                 Credit Card                                                          $1.00
Attn.: Centralized Bankruptcy                                                             REMARKS:
                                                                      -
POB 20507
Kansas City, MO 64195

ACCT #: 27053808270538080                                                                 DATE INCURRED:   12/2003
                                                                                          CONSIDERATION:
Victoria's Secret                                                                         Credit Card                                                          $1.00
POB 182273                                                                                REMARKS:
                                                                      -
Columbus, OH 43218




Sheet no. __________
              6        of __________
                               6     continuation sheets attached to                                                                 Subtotal >                 $3.00
Schedule of Creditors Holding Unsecured Nonpriority Claims
                                                                                                                            Total >                        $52,104.00
                                                                              (Use only on last page of the completed Schedule F.)
                                                                  (Report also on Summary of Schedules and, if applicable, on the
                                                                      Statistical Summary of Certain Liabilities and Related Data.)
                            Case 09-17018-RAM               Doc 1      Filed 04/16/09         Page 27 of 42
B6G (Official Form 6G) (12/07)
   In re William C. Cuello                                                              Case No.
                                                                                                        (if known)



                     SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES
Describe all executory contracts of any nature and all unexpired leases of real or personal property. Include any timeshare interests.
State nature of debtor's interest in contract, i.e., "Purchaser," "Agent," etc. State whether debtor is the lessor or lessee of a lease.
Provide the names and complete mailing addresses of all other parties to each lease or contract described. If a minor child is a party to
one of the leases of contracts, state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a
minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).


¨ Check this box if debtor has no executory contracts or unexpired leases.
                                                                         DESCRIPTION OF CONTRACT OR LEASE AND NATURE OF DEBTOR'S
                                                                         INTEREST. STATE WHETHER LEASE IS FOR NONRESIDENTIAL REAL
            NAME AND MAILING ADDRESS, INCLUDING ZIP CODE,                PROPERTY. STATE CONTRACT NUMBER OF ANY GOVERNMENT
              OF OTHER PARTIES TO LEASE OR CONTRACT.                     CONTRACT.




   Honda Financial Services                                              2009 Honda Accord
   POB 168088                                                            VIN#1HGCP268X9A009217
   Irving, TX 75016                                                      Contract to be ASSUMED
                              Case 09-17018-RAM                   Doc 1        Filed 04/16/09             Page 28 of 42
B6H (Official Form 6H) (12/07)
In re William C. Cuello                                                                            Case No.
                                                                                                                           (if known)



                                                        SCHEDULE H - CODEBTORS
Provide the information requested concerning any person or entity, other than a spouse in a joint case, that is also liable on any debts listed by the debtor
in the schedules of creditors. Include all guarantors and co-signers. If the debtor resides or resided in a community property state, commonwealth, or
territory (including Alaska, Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within the eight-
year period immediately preceding the commencement of the case, identify the name of the debtor's spouse and of any former spouse who resides or
resided with the debtor in the community property state, commonwealth, or territory. Include all names used by the nondebtor spouse during the eight
years immediately preceding the commencement of this case. If a minor child is a codebtor or a creditor, state the child's initials and the name and
address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112
and Fed. R. Bankr. P. 1007(m).

þ Check this box if debtor has no codebtors.
                     NAME AND ADDRESS OF CODEBTOR                                                     NAME AND ADDRESS OF CREDITOR
                                 Case 09-17018-RAM               Doc 1        Filed 04/16/09           Page 29 of 42
B6I (Official Form 6I) (12/07)
In re William C. Cuello                                                                          Case No.
                                                                                                                     (if known)



                            SCHEDULE I - CURRENT INCOME OF INDIVIDUAL DEBTOR(S)
The column labeled "Spouse" must be completed in all cases filed by joint debtors and by every married debtor, whether or not a joint petition is filed,
unless the spouses are separated and a joint petition is not filed. Do not state the name of any minor child. The average monthly income calculated on
this form may differ from the current monthly income calculated on Form 22A, 22B, or 22C.
 Debtor's Marital Status:                                             Dependents of Debtor and Spouse
                                 Relationship(s): Daughter        Age(s): 6 Months    Relationship(s):                            Age(s):
           Married




 Employment:                      Debtor                                                     Spouse
 Occupation                      Construction Superintendent                                Unemployed
 Name of Employer                Siltek Group Inc.
 How Long Employed               1 1/2 years
 Address of Employer             1232 North University Dr.
                                 Plantation, FL 33322

INCOME: (Estimate of average or projected monthly income at time case filed)                                     DEBTOR                     SPOUSE
1. Monthly gross wages, salary, and commissions (Prorate if not paid monthly)                                   $4,327.20                     $0.00
2. Estimate monthly overtime                                                                                        $0.00                     $0.00
3. SUBTOTAL                                                                                                     $4,327.20                       $0.00
4. LESS PAYROLL DEDUCTIONS
   a. Payroll taxes (includes social security tax if b. is zero)                                                  $668.68                       $0.00
   b. Social Security Tax                                                                                           $0.00                       $0.00
   c. Medicare                                                                                                      $0.00                       $0.00
   d. Insurance                                                                                                     $0.00                       $0.00
   e. Union dues                                                                                                    $0.00                       $0.00
   f. Retirement                                                                                                    $0.00                       $0.00
   g. Other (Specify)                                                                                               $0.00                       $0.00
   h. Other (Specify)                                                                                               $0.00                       $0.00
   i. Other (Specify)                                                                                               $0.00                       $0.00
   j. Other (Specify)                                                                                               $0.00                       $0.00
   k. Other (Specify)                                                                                               $0.00                       $0.00
5. SUBTOTAL OF PAYROLL DEDUCTIONS                                                                                 $668.68                       $0.00
6.    TOTAL NET MONTHLY TAKE HOME PAY                                                                           $3,658.52                       $0.00
7.  Regular income from operation of business or profession or farm (Attach detailed stmt)                           $0.00                      $0.00
8.  Income from real property                                                                                        $0.00                      $0.00
9.  Interest and dividends                                                                                           $0.00                      $0.00
10. Alimony, maintenance or support payments payable to the debtor for the debtor's use or                           $0.00                      $0.00
    that of dependents listed above
11. Social security or government assistance (Specify):
                                                                                                                     $0.00                      $0.00
12. Pension or retirement income                                                                                     $0.00                      $0.00
13. Other monthly income (Specify):
      a.                                                                                                             $0.00                      $0.00
      b.                                                                                                             $0.00                      $0.00
      c.                                                                                                             $0.00                      $0.00
14. SUBTOTAL OF LINES 7 THROUGH 13                                                                                   $0.00                      $0.00
15. AVERAGE MONTHLY INCOME (Add amounts shown on lines 6 and 14)                                                $3,658.52                       $0.00
16. COMBINED AVERAGE MONTHLY INCOME: (Combine column totals from line 15)                                                  $3,658.52
                                                                       (Report also on Summary of Schedules and, if applicable,
                                                                       on Statistical Summary of Certain Liabilities and Related Data)
17. Describe any increase or decrease in income reasonably anticipated to occur within the year following the filing of this document:
Schedule J expense is based on Means Test rental expenses for a family of three.
                             Case 09-17018-RAM                  Doc 1        Filed 04/16/09           Page 30 of 42
B6J (Official Form 6J) (12/07)
  IN RE: William C. Cuello                                                                      Case No.
                                                                                                                   (if known)



                    SCHEDULE J - CURRENT EXPENDITURES OF INDIVIDUAL DEBTOR(S)
Complete this schedule by estimating the average or projected monthly expenses of the debtor and the debtor's family at time case filed. Prorate any
payments made bi-weekly, quarterly, semi-annually, or annually to show monthly rate. The average monthly expenses calculated on this form may
differ from the deductions from income allowed on Form 22A or 22C.

    Check this box if a joint petition is filed and debtor's spouse maintains a separate household. Complete a separate schedule of expenditures
¨
    labeled "Spouse."


 1. Rent or home mortgage payment (include lot rented for mobile home)                                                                     $1,240.00
    a. Are real estate taxes included?        ¨ Yes      þ No
    b. Is property insurance included?        ¨ Yes      þ No
 2. Utilities: a. Electricity and heating fuel                                                                                               $150.00
               b. Water and sewer                                                                                                             $30.00
               c. Telephone                                                                                                                   $30.00
               d. Other: Cable                                                                                                                $25.00
 3. Home maintenance (repairs and upkeep)                                                                                                     $60.00
 4. Food                                                                                                                                     $900.00
 5. Clothing                                                                                                                                  $80.00
 6. Laundry and dry cleaning
 7. Medical and dental expenses                                                                                                               $80.00
 8. Transportation (not including car payments)                                                                                              $200.00
 9. Recreation, clubs and entertainment, newspapers, magazines, etc.                                                                         $100.00
 10. Charitable contributions                                                                                                                 $40.00
 11. Insurance (not deducted from wages or included in home mortgage payments)
           a. Homeowner's or renter's
           b. Life
           c. Health
           d. Auto                                                                                                                           $210.00
           e. Other:
 12. Taxes (not deducted from wages or included in home mortgage payments)
 Specify:
 13. Installment payments: (In chapter 11, 12, and 13 cases, do not list payments to be included in the plan)
             a. Auto: Car Payment                                                                                                            $179.95
             b. Other:
             c. Other:
             d. Other:
 14. Alimony, maintenance, and support paid to others:
 15. Payments for support of add'l dependents not living at your home:
 16. Regular expenses from operation of business, profession, or farm (attach detailed statement)
 17.a. Other: See attached personal expenses                                                                                                 $280.00
 17.b. Other:
 18. AVERAGE MONTHLY EXPENSES (Total lines 1-17. Report also on Summary of Schedules and,
                                                                                                                                $3,604.95
    if applicable, on the Statistical Summary of Certain Liabilities and Related Data.)
 19. Describe any increase or decrease in expenditures reasonably anticipated to occur within the year following the filing of this
 document: None.


 20. STATEMENT OF MONTHLY NET INCOME
 a. Average monthly income from Line 15 of Schedule I                                                                                     $3,658.52
 b. Average monthly expenses from Line 18 above                                                                                           $3,604.95
 c. Monthly net income (a. minus b.)                                                                                                         $53.57
                           Case 09-17018-RAM   Doc 1   Filed 04/16/09   Page 31 of 42
                                   UNITED STATES BANKRUPTCY COURT
                                    SOUTHERN DISTRICT OF FLORIDA
                                             MIAMI DIVISION
IN RE:   William C. Cuello                                         CASE NO

                                                                  CHAPTER    7

                                        EXHIBIT TO SCHEDULE J




                                        Itemized Personal Expenses

Expense                                                                                    Amount

Car maintenance & repair                                                                     $40.00
Hair cuts, Personal Care                                                                     $40.00
Toll Expenses                                                                               $200.00


                                                                                 Total >   $280.00
                           Case 09-17018-RAM              Doc 1       Filed 04/16/09         Page 32 of 42
B6 Declaration (Official Form 6 - Declaration) (12/07)
In re William C. Cuello                                                                Case No.
                                                                                                             (if known)



                               DECLARATION CONCERNING DEBTOR'S SCHEDULES
                           DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR
    I declare under penalty of perjury that I have read the foregoing summary and schedules, consisting of                 26
sheets, and that they are true and correct to the best of my knowledge, information, and belief.



Date 04/16/2009                                              Signature    /s/ William C. Cuello
                                                                         William C. Cuello

Date                                                         Signature

                                                             [If joint case, both spouses must sign.]




Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or
both. 18 U.S.C. §§ 152 and 3571.
                               Case 09-17018-RAM                    Doc 1        Filed 04/16/09            Page 33 of 42
B7 (Official Form 7) (12/07)                    UNITED STATES BANKRUPTCY COURT
                                                   SOUTHERN DISTRICT OF FLORIDA
                                                           MIAMI DIVISION
   In re:   William C. Cuello                                                                        Case No.
                                                                                                                             (if known)



                                                 STATEMENT OF FINANCIAL AFFAIRS

       1. Income from employment or operation of business
None
       State the gross amount of income the debtor has received from employment, trade, or profession, or from operation of the debtor's business,
 ¨     including part-time activities either as an employee or in independent trade or business, from the beginning of this calendar year to the date this
       case was commenced. State also the gross amounts received during the two years immediately preceding this calendar year. (A debtor that
       maintains, or has maintained, financial records on the basis of a fiscal rather than a calendar year may report fiscal year income. Identify the
       beginning and ending dates of the debtor's fiscal year.) If a joint petition is filed, state income for each spouse separately. (Married debtors filing
       under chapter 12 or chapter 13 must state income of both spouses whether or not a joint petition is filed, unless the spouses are separated and a
       joint petition is not filed.)
        AMOUNT                      SOURCE
        $14,424.00                  2009 Estimated YTD Income Tax Return

        $32,596.00                  2008 Income Tax Return.

        $28,908.00                  2007 Income Tax Return.

       2. Income other than from employment or operation of business
None
       State the amount of income received by the debtor other than from employment, trade, profession, or operation of the debtor's business during the
 þ     two years immediately preceding the commencement of this case. Give particulars. If a joint petition is filed, state income for each spouse
       separately. (Married debtors filing under chapter 12 or chapter 13 must state income for each spouse whether or not a joint petition is filed,
       unless the spouses are separated and a joint petition is not filed.)


       3. Payments to creditors
       Complete a. or b., as appropriate, and c.
None
       a. Individual or joint debtor(s) with primarily consumer debts: List all payments on loans, installment purchases of goods or services, and other
 þ     debts to any creditor made within 90 days immediately preceding the commencement of this case unless the aggregate value of all property that
       constitutes or is affected by such transfer is less than $600. Indicate with an asterisk (*) any payments that were made to a creditor on account
       of a domestic support obligation or as part of an alternative repayment schedule under a plan by an approved nonprofit budgeting and credit
       counseling agency. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both spouses whether or not a joint
       petition is filed, unless the spouses are separated and a joint petition is not filed.)


None
       b. Debtor whose debts are not primarily consumer debts: List each payment or other transfer to any creditor made within 90 days immediately
 þ     preceding the commencement of the case unless the aggregate value of all property that constitutes or is affected by such transfer is less than
       $5,475. If the debtor is an individual, indicate with an asterisk (*) any payments that were made to a creditor on account of a domestic support
       obligation or as part of an alternative repayment schedule under a plan by an approved nonprofit budgeting and credit counseling agency.
       (Married debtors filing under chapter 12 or chapter 13 must include payments and other transfers by either or both spouses whether or not a joint
       petition is filed, unless the spouses are separated and a joint petition is not filed.)


None
       c. All debtors: List all payments made within one year immediately preceding the commencement of this case to or for the benefit of creditors
 þ     who are or were insiders. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both spouses whether or
       not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)



       4. Suits and administrative proceedings, executions, garnishments and attachments
None
       a. List all suits and administrative proceedings to which the debtor is or was a party within one year immediately preceding the filing of this
 ¨     bankruptcy case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both spouses whether or
       not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)
        CAPTION OF SUIT AND                                                              COURT OR AGENCY                 STATUS OR
        CASE NUMBER                                    NATURE OF PROCEEDING              AND LOCATION                    DISPOSITION
        Eastern Financial Florida Credit               Lawsuit                           Dade County                     Pending
        Union,                                                                           Courthouse
        vs.                                                                              73 West Flagler Street
        William Cesar Cuello,                                                            Miami, FL 33130
        Case No.:09-9622 CC11
                              Case 09-17018-RAM                   Doc 1         Filed 04/16/09           Page 34 of 42
B7 (Official Form 7) (12/07) - Cont.           UNITED STATES BANKRUPTCY COURT
                                                  SOUTHERN DISTRICT OF FLORIDA
                                                          MIAMI DIVISION
   In re:   William C. Cuello                                                                      Case No.
                                                                                                                          (if known)



                                                STATEMENT OF FINANCIAL AFFAIRS
                                                                  Continuation Sheet No. 1



None
       b. Describe all property that has been attached, garnished or seized under any legal or equitable process within one year immediately preceding
 þ     the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning property of either or
       both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)


       5. Repossessions, foreclosures and returns
None
       List all property that has been repossessed by a creditor, sold at a foreclosure sale, transferred through a deed in lieu of foreclosure or returned
 þ     to the seller, within one year immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must
       include information concerning property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a
       joint petition is not filed.)


       6. Assignments and receiverships
None
       a. Describe any assignment of property for the benefit of creditors made within 120 days immediately preceding the commencement of this case.
 þ     (Married debtors filing under chapter 12 or chapter 13 must include any assignment by either or both spouses whether or not a joint petition is
       filed, unless the spouses are separated and a joint petition is not filed.)

None
       b. List all property which has been in the hands of a custodian, receiver, or court-appointed official within one year immediately preceding the
 þ     commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning property of either or both
       spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)


       7. Gifts
None
       List all gifts or charitable contributions made within one year immediately preceding the commencement of this case except ordinary and usual
 þ     gifts to family members aggregating less than $200 in value per individual family member and charitable contributions aggregating less than $100
       per recipient. (Married debtors filing under chapter 12 or chapter 13 must include gifts or contributions by either or both spouses whether or not a
       joint petition is filed, unless the spouses are separated and a joint petition is not filed.)



       8. Losses
None
       List all losses from fire, theft, other casualty or gambling within one year immediately preceding the commencement of this case or since the
 þ     commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include losses by either or both spouses whether or not
       a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)


       9. Payments related to debt counseling or bankruptcy
None
       List all payments made or property transferred by or on behalf of the debtor to any persons, including attorneys, for consultation concerning debt
 ¨     consolidation, relief under the bankruptcy law or preparation of a petition in bankruptcy within one year immediately preceding the commencement
       of this case.

                                                                      DATE OF PAYMENT,
                                                                      NAME OF PAYER IF                AMOUNT OF MONEY OR DESCRIPTION
        NAME AND ADDRESS OF PAYEE                                     OTHER THAN DEBTOR               AND VALUE OF PROPERTY
        Law Offices of Patrick L. Cordero, P.A.                       04/2009                         $2,050.00
        198 NW 37th Avenue                                                                            Plus $299.00 Filing Fees.
        Miami, FL 33125
                              Case 09-17018-RAM                    Doc 1        Filed 04/16/09            Page 35 of 42
B7 (Official Form 7) (12/07) - Cont.           UNITED STATES BANKRUPTCY COURT
                                                  SOUTHERN DISTRICT OF FLORIDA
                                                          MIAMI DIVISION
   In re:   William C. Cuello                                                                      Case No.
                                                                                                                           (if known)



                                                 STATEMENT OF FINANCIAL AFFAIRS
                                                                   Continuation Sheet No. 2



       10. Other transfers
None
       a. List all other property, other than property transferred in the ordinary course of the business or financial affairs of the debtor, transferred
 ¨     either absolutely or as security within two years immediately preceding the commencement of this case. (Married debtors filing under chapter 12
       or chapter 13 must include transfers by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint
       petition is not filed.)

        NAME AND ADDRESS OF TRANSFEREE,                                                       DESCRIBE PROPERTY TRANSFERRED
        RELATIONSHIP TO DEBTOR                                        DATE                    AND VALUE RECEIVED
        Gabriel Selles Camaño                                         10/2008                 2004 Honda Accord.
        Friend                                                                                Debtor received $6,500.00 out of this
                                                                                              transfer. Used $5,500 to lease
                                                                                              current vehicle.

       b. List all property transferred by the debtor within ten years immediately preceding the commencement of this case to a self-settled trust or
None
       similar device of which the debtor is a beneficiary.
 þ
       11. Closed financial accounts
None
       List all financial accounts and instruments held in the name of the debtor or for the benefit of the debtor which were closed, sold, or otherwise
 þ     transferred within one year immediately preceding the commencement of this case. Include checking, savings, or other financial accounts,
       certificates of deposit, or other instruments; shares and share accounts held in banks, credit unions, pension funds, cooperatives, associations,
       brokerage houses and other financial institutions. (Married debtors filing under chapter 12 or chapter 13 must include information concerning
       accounts or instruments held by or for either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint
       petition is not filed.)


       12. Safe deposit boxes
None
       List each safe deposit or other box or depository in which the debtor has or had securities, cash, or other valuables within one year immediately
 þ     preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include boxes or depositories of either or
       both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)



       13. Setoffs
None
       List all setoffs made by any creditor, including a bank, against a debt or deposit of the debtor within 90 days preceding the commencement of this
 þ     case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both spouses whether or not a joint
       petition is filed, unless the spouses are separated and a joint petition is not filed.)



       14. Property held for another person
None
       List all property owned by another person that the debtor holds or controls.
 þ
       15. Prior address of debtor
None
       If the debtor has moved within three years immediately preceding the commencement of this case, list all premises which the debtor occupied
 þ     during that period and vacated prior to the commencement of this case. If a joint petition is filed, report also any separate address of either
       spouse.



       16. Spouses and Former Spouses
None
       If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska, Arizona, California, Idaho, Louisiana,
 þ     Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within eight years immediately preceding the commencement of the case,
       identify the name of the debtor's spouse and of any former spouse who resides or resided with the debtor in the community property state.
                              Case 09-17018-RAM                     Doc 1       Filed 04/16/09             Page 36 of 42
B7 (Official Form 7) (12/07) - Cont.            UNITED STATES BANKRUPTCY COURT
                                                   SOUTHERN DISTRICT OF FLORIDA
                                                           MIAMI DIVISION
   In re:   William C. Cuello                                                                       Case No.
                                                                                                                            (if known)



                                                 STATEMENT OF FINANCIAL AFFAIRS
                                                                    Continuation Sheet No. 3



       17. Environmental Information
       For the purpose of this question, the following definitions apply:

       "Environmental Law" means any federal, state, or local statute or regulation regulating pollution, contamination, releases of hazardous or toxic
       substances, wastes or material into the air, land, soil, surface water, groundwater, or other medium, including, but not limited to, statutes or
       regulations regulating the cleanup of these substances, wastes, or material.

       "Site" means any location, facility, or property as defined under any Environmental Law, whether or not presently or formerly owned or operated
       by the debtor, including, but not limited to, disposal sites.

       "Hazardous Material" means anything defined as a hazardous waste, hazardous substance, toxic substance, hazardous material, pollutant, or
       contaminant or similar term under an Environmental Law.



None a. List the name and address of every site for which the debtor has received notice in writing by a governmental unit that it may be liable or
 þ     potentially liable under or in violation of an Environmental Law. Indicate the governmental unit, the date of the notice, and, if known, the
       Environmental Law:



None b. List the name and address of every site for which the debtor provided notice to a governmental unit of a release of Hazardous Material.
 þ     Indicate the governmental unit to which the notice was sent and the date of the notice.



None c. List all judicial or administrative proceedings, including settlements or orders, under any Environmental Law with respect to which the debtor is
 þ     or was a party. Indicate the name and address of the governmental unit that is or was a party to the proceeding, and the docket number.


       18. Nature, location and name of business
None
       a. If the debtor is an individual, list the names, addresses, taxpayer-identification numbers, nature of the businesses, and beginning and ending
 þ     dates of all businesses in which the debtor was an officer, director, partner, or managing executive of a corporation, partner in a partnership,
       sole proprietor, or was self-employed in a trade, profession, or other activity either full- or part-time within six years immediately preceding the
       commencement of this case, or in which the debtor owned 5 percent or more of the voting or equity securities within six years immediately
       preceding the commencement of this case.

       If the debtor is a partnership, list the names, addresses, taxpayer-identification numbers, nature of the businesses, and beginning and ending
       dates of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities, within six years
       immediately preceding the commencement of this case.

       If the debtor is a corporation, list the names, addresses, taxpayer-identification numbers, nature of the businesses, and beginning and ending
       dates of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities within six years
       immediately preceding the commencement of this case.


None
       b. Identify any business listed in response to subdivision a., above, that is "single asset real estate" as defined in 11 U.S.C. § 101.
 þ
                               Case 09-17018-RAM                     Doc 1        Filed 04/16/09             Page 37 of 42
B7 (Official Form 7) (12/07) - Cont.            UNITED STATES BANKRUPTCY COURT
                                                   SOUTHERN DISTRICT OF FLORIDA
                                                           MIAMI DIVISION
   In re:   William C. Cuello                                                                         Case No.
                                                                                                                               (if known)



                                                  STATEMENT OF FINANCIAL AFFAIRS
                                                                     Continuation Sheet No. 4



       The following questions are to be completed by every debtor that is a corporation or partnership and by any individual debtor who is or has been,
       within six years immediately preceding the commencement of this case, any of the following: an officer, director, managing executive, or owner of
       more than 5 percent of the voting or equity securities of a corporation; a partner, other than a limited partner, of a partnership, a sole proprietor, or
       self-employed in a trade, profession, or other activity, either full- or part-time.

       (An individual or joint debtor should complete this portion of the statement only if the debtor is or has been in business, as defined above, within
       six years immediately preceding the commencement of this case. A debtor who has not been in business within those six years should go
       directly to the signature page.)


       19. Books, records and financial statements
None
       a. List all bookkeepers and accountants who within two years immediately preceding the filing of this bankruptcy case kept or supervised the
 þ     keeping of books of account and records of the debtor.


None
       b. List all firms or individuals who within two years immediately preceding the filing of this bankruptcy case have audited the books of account
 þ     and records, or prepared a financial statement of the debtor.


None
       c. List all firms or individuals who at the time of the commencement of this case were in possession of the books of account and records of the
 þ     debtor. If any of the books of account and records are not available, explain.


None
       d. List all financial institutions, creditors and other parties, including mercantile and trade agencies, to whom a financial statement was issued by
 þ     the debtor within two years immediately preceding the commencement of this case.



       20. Inventories
None
       a. List the dates of the last two inventories taken of your property, the name of the person who supervised the taking of each inventory, and the
 þ     dollar amount and basis of each inventory.


None
       b. List the name and address of the person having possession of the records of each of the inventories reported in a., above.
 þ

       21. Current Partners, Officers, Directors and Shareholders
None
       a. If the debtor is a partnership, list the nature and percentage of partnership interest of each member of the partnership.
 þ

None
       b. If the debtor is a corporation, list all officers and directors of the corporation, and each stockholder who directly or indirectly owns, controls, or
 þ     holds 5 percent or more of the voting or equity securities of the corporation.


       22. Former partners, officers, directors and shareholders
None
       a. If the debtor is a partnership, list each member who withdrew from the partnership within one year immediately preceding the commencement
 þ     of this case.


None
       b. If the debtor is a corporation, list all officers, or directors whose relationship with the corporation terminated within one year immediately
 þ     preceding the commencement of this case.
                              Case 09-17018-RAM                     Doc 1         Filed 04/16/09            Page 38 of 42
B7 (Official Form 7) (12/07) - Cont.            UNITED STATES BANKRUPTCY COURT
                                                   SOUTHERN DISTRICT OF FLORIDA
                                                           MIAMI DIVISION
   In re:   William C. Cuello                                                                         Case No.
                                                                                                                              (if known)



                                                  STATEMENT OF FINANCIAL AFFAIRS
                                                                    Continuation Sheet No. 5



       23. Withdrawals from a partnership or distributions by a corporation
None
       If the debtor is a partnership or corporation, list all withdrawals or distributions credited or given to an insider, including compensation in any form,
 þ     bonuses, loans, stock redemptions, options exercised and any other perquisite during one year immediately preceding the commencement of this
       case.


       24. Tax Consolidation Group
None
       If the debtor is a corporation, list the name and federal taxpayer-identification number of the parent corporation of any consolidated group for tax
 þ     purposes of which the debtor has been a member at any time within six years immediately preceding the commencement of the case.




       25. Pension Funds
None
       If the debtor is not an individual, list the name and federal taxpayer-identification number of any pension fund to which the debtor, as an employer,
 þ     has been responsible for contributing at any time within six years immediately preceding the commencement of the case.



[If completed by an individual or individual and spouse]

I declare under penalty of perjury that I have read the answers contained in the foregoing statement of financial affairs and any
attachments thereto and that they are true and correct.

Date 04/16/2009                                                         Signature          /s/ William C. Cuello
                                                                        of Debtor          William C. Cuello

Date                                                                    Signature
                                                                        of Joint Debtor
                                                                        (if any)
Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both.
18 U.S.C. §§ 152 and 3571
                             Case 09-17018-RAM                    Doc 1      Filed 04/16/09       Page 39 of 42
  B 8 (Official Form 8) (12/08)

                                                 UNITED STATES BANKRUPTCY COURT
                                                  SOUTHERN DISTRICT OF FLORIDA
                                                           MIAMI DIVISION
  IN RE:    William C. Cuello                                                              CASE NO

                                                                                           CHAPTER      7

                       CHAPTER 7 INDIVIDUAL DEBTOR'S STATEMENT OF INTENTION

PART A -- Debts secured by property of the estate. (Part A must be fully completed for EACH debt which is secured by property of the
estate Attach additional pages if necessary.)


 Property No.   1

 Creditor's Name:                                                              Describe Property Securing Debt:
 Bank Of America                                                               Homestead
 4161 Piedmont Pkwy
 Greensboro, NC 27410
 68218008324899




 Property will be (check one):
    þ Surrendered                 ¨   Retained

 If retaining the property, I intend to (check at least one):
      ¨ Redeem the property
      ¨ Reaffirm the debt
      ¨ Other. Explain (for example, avoid lien using 11 U.S.C. § 522(f)):



 Property is (check one):
    ¨ Claimed as exempt               þ   Not claimed as exempt


 Property No.   2

 Creditor's Name:                                                              Describe Property Securing Debt:
 Eastern Financial Fl C                                                        Non-Homestead
 PoB 825871
 South Florida, FL 33082
 9553576503




 Property will be (check one):
    þ Surrendered                 ¨   Retained

 If retaining the property, I intend to (check at least one):
      ¨ Redeem the property
      ¨ Reaffirm the debt
      ¨ Other. Explain (for example, avoid lien using 11 U.S.C. § 522(f)):



 Property is (check one):
    ¨ Claimed as exempt               þ   Not claimed as exempt
                            Case 09-17018-RAM                    Doc 1      Filed 04/16/09        Page 40 of 42
 B 8 (Official Form 8) (12/08)

                                                UNITED STATES BANKRUPTCY COURT
                                                 SOUTHERN DISTRICT OF FLORIDA
                                                          MIAMI DIVISION
 IN RE:    William C. Cuello                                                               CASE NO

                                                                                           CHAPTER      7

                      CHAPTER 7 INDIVIDUAL DEBTOR'S STATEMENT OF INTENTION
                                                             Continuation Sheet No. 1


Property No.   3

Creditor's Name:                                                               Describe Property Securing Debt:
Eastern Financial Fl C                                                         Homestead
PoB 825871
South Florida, FL 33082
9553576502




Property will be (check one):
   þ Surrendered                 ¨   Retained

If retaining the property, I intend to (check at least one):
     ¨ Redeem the property
     ¨ Reaffirm the debt
     ¨ Other. Explain (for example, avoid lien using 11 U.S.C. § 522(f)):



Property is (check one):
   ¨ Claimed as exempt               þ   Not claimed as exempt


Property No.   4

Creditor's Name:                                                               Describe Property Securing Debt:
Los Cazadores North HOA                                                        Homestead
14275 SW 142 Ave.
Miami, FL 33186
1844-000505-CU




Property will be (check one):
   þ Surrendered                 ¨   Retained

If retaining the property, I intend to (check at least one):
     ¨ Redeem the property
     ¨ Reaffirm the debt
     ¨ Other. Explain (for example, avoid lien using 11 U.S.C. § 522(f)):



Property is (check one):
   ¨ Claimed as exempt               þ   Not claimed as exempt
                             Case 09-17018-RAM                    Doc 1      Filed 04/16/09             Page 41 of 42
  B 8 (Official Form 8) (12/08)

                                                 UNITED STATES BANKRUPTCY COURT
                                                  SOUTHERN DISTRICT OF FLORIDA
                                                           MIAMI DIVISION
  IN RE:    William C. Cuello                                                                CASE NO

                                                                                             CHAPTER        7

                        CHAPTER 7 INDIVIDUAL DEBTOR'S STATEMENT OF INTENTION
                                                              Continuation Sheet No. 2


 Property No.   5

 Creditor's Name:                                                               Describe Property Securing Debt:
 Shoma Homes @ Keys Cove                                                        Non-Homestead
 C/O The Continental Group, Inc
 POB 028104
 Miami, FL 33102
 06320001083801



 Property will be (check one):
    þ Surrendered                 ¨   Retained

 If retaining the property, I intend to (check at least one):
      ¨ Redeem the property
      ¨ Reaffirm the debt
      ¨ Other. Explain (for example, avoid lien using 11 U.S.C. § 522(f)):



 Property is (check one):
    ¨ Claimed as exempt               þ   Not claimed as exempt


PART B -- Personal property subject to unexpired leases. (All three columns of Part B must be completed for each unexpired lease.
Attach additional pages if necessary.)


 Property No.       1
 Lessor's Name:                                              Describe Leased Property:                          Lease will be Assumed pursuant to
 Honda Financial Services                                    2009 Honda Accord                                  11 U.S.C. § 365(p)(2):
 POB 168088                                                  VIN#1HGCP268X9A009217
 Irving, TX 75016
                                                                                                                YES   þ          NO   ¨




I declare under penalty of perjury that the above indicates my intention as to any property of my estate securing a debt and/or
personal property subject to an unexpired lease.



Date 04/16/2009                                                    Signature    /s/ William C. Cuello
                                                                               William C. Cuello




Date                                                               Signature
                        Case 09-17018-RAM              Doc 1     Filed 04/16/09               Page 42 of 42
                                      UNITED STATES BANKRUPTCY COURT
                                       SOUTHERN DISTRICT OF FLORIDA
                                                MIAMI DIVISION
  IN RE:   William C. Cuello                                                         CASE NO

                                                                                    CHAPTER        7

                                     VERIFICATION OF CREDITOR MATRIX


      The above named Debtor hereby verifies that the attached list of creditors is true and correct to the best of his/her
knowledge.




Date 04/16/2009                                          Signature    /s/ William C. Cuello
                                                                     William C. Cuello



Date                                                     Signature
